Exhibit 1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 EDMOND GRANT P/K/A “EDDY                           Civil Action No. 1:20-cv-07103-JGK
 GRANT”, GREENHEART MUSIC
 LIMITED, a United Kingdom Limited
 Company, and GREENHEART MUSIC
 LIMITED, an Antigua and Barbuda Limited            NOTICE OF DEPOSITIONS
 Company,

                                   Plaintiffs,

                   - against –

 DONALD J. TRUMP and DONALD J.
 TRUMP FOR PRESIDENT, INC.,

                                 Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, plaintiffs Edmond Grant p/k/a/ “Eddy Grant” (‘Grant”), Greenheart Music Limited, a

United Kingdom Limited Company (“Greenheart UK”), and Greenheart Music Limited, an

Antigua and Barbuda Limited Company(“Greenheart AB,” and collectively, “Plaintiffs”), by and

through their attorneys Reitler Kailas & Rosenblatt LLP, will take the deposition upon oral

examination on April 4, 2022 at 9:30 a.m. of defendant Donald J. Trump.

       PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 30(b)(6) of the Federal

Rules of Civil Procedure, Plaintiffs, by and through their attorneys Reitler Kailas & Rosenblatt

LLP, will take the deposition upon oral examination on April 6, 2022 at 9:30 a.m., of defendant

Donald J. Trump for President, Inc. (the “Company”), through one or more officers, directors,

agents or other representatives who shall be designated to testify on Company’s behalf regarding

all information known or reasonably available to the Company with respect to the topics and

subject matters identified in the annexed Schedule A. Plaintiffs requests that the Company provide
written notice at least five (5) business days before the deposition of the name(s) and employment

position(s) of the individual(s) designated to testify on the Company’s behalf.

       The depositions noticed above will take place at the offices of Reitler Kailas & Rosenblatt

LLP, located at 885 Third Avenue, 20th Floor, New York NY 10022, or at another location

mutually agreed upon between the parties, or remotely using videoconferencing technology. The

depositions will be taken by stenographic means and/or videotaped before a notary public

authorized under the laws of the State of New York to administer oaths. The depositions will

continue from day to day thereafter until completed. You are invited to attend and cross-examine.

 Dated: January 26, 2022
                                                 REITLER KAILAS & ROSENBLATT LLP




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                                                 Attorneys for Plaintiffs Edmond Grant p/k/a
                                                 “Eddy Grant”, Greenheart Music Limited, a
                                                 United Kingdom Limited Company, and
                                                 Greenheart Music Limited, an Antigua and
                                                 Barbuda Limited Company




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                                          SCHEDULE “A”

        In accordance with FRCP 30(b)(6), plaintiffs Edmond Grant p/k/a/ “Eddy Grant” (‘Grant”),

Greenheart Music Limited, a United Kingdom Limited Company (“Greenheart UK”), and

Greenheart Music Limited, an Antigua and Barbuda Limited Company(“Greenheart AB,” and

collectively, “Plaintiffs”), designate the topics identified below for the examination of Donald J.

Trump for President, Inc. (the “Company”). In construing these topics, the following instructions

and definitions shall apply:

                                           DEFINITIONS

        A.      “Action” means the civil action pending in the United States District Court,

Southern District of New York, captioned Grant, et al., v. Trump, et al., Case No. 1:20-cv-07103.

        B.      “Company” means Donald J. Trump for President, Inc., and any of its present or

former officers, directors, employees, attorneys, agents, representatives, corporate parents,

subsidiaries, affiliates, or other persons acting or purporting to act on its behalf.

        C.      “Composition” means the musical composition written by Grant entitled “Electric

Avenue”.

        D.      “Infringing Video” means the 55 second video contained in the Tweet from Mr.

Trump’s Twitter account on August 12, 2020, at or about 9:35 p.m. EST, which contains a visual

depiction of a red train bearing the words “Trump Pence KAG 2020” and a handcar bearing the

words “Biden President: Your Hair Smells Terrific” being powered by an animated likeness of

Former Vice President Biden.

        E.      “Recording” means the sound recording recorded by Grant entitled “electric

Avenue.”
       F.      “Tweet” means the tweet published on Mr. Trump’s Twitter account on August 12,

2020 containing the Infringing Video.

                                    DEPOSITION TOPICS

       1.      Information concerning the Company’s involvement in Mr. Trump’s campaign to

be re-elected as President of the United States in 2020.

       2.      Information concerning the Company’s access to Mr. Trump’s social media

accounts, including Mr. Trump’s Twitter account.

       3.      Information concerning the Company’s control over Mr. Trump’s social media

accounts, including Mr. Trump’s Twitter account.

       4.      Information concerning the Company’s contributions to the creation, production,

and distribution of the Infringing Video.

       5.      Information concerning the Company’s contributions to the creation, production,

and distribution of the Tweet.

       6.      Information concerning the Company’s decision to have Mr. Trump post the Tweet

on his Twitter account.

       7.      Information concerning any due diligence performed by the Company concerning

the copyright ownership of the Composition.

       8.      Information concerning any due diligence performed by the Company concerning

the copyright ownership of the Recording.

       9.      Information concerning the Company’s receipt of the cease and desist letter dated

August 13, 2020.

       10.     Information concerning the Company’s response to the cease and desist letter dated

August 13, 2020.




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       11.     Information concerning any financial or political benefit obtained by the Company

from the creation, production, and/or distribution of the Tweet.

       12.     Information concerning any financial or political benefit obtained by the Company

from the creation, production, and/or distribution of the Infringing Video.

       13.     Information concerning any communications between Company and any third

party concerning the Tweet.

       14.     Information concerning any communications between Company and any third

party concerning the Infringing Video.

       15.     Information concerning the identity of the custodians of documents produced by

the Company in response to Plaintiff’s First Request for the Production of Documents.

       16.     Information concerning the location of the original versions of the documents

produced by the Company in response to Plaintiff’s First Request for the Production of Documents.

       17.     Information concerning the organization structure of the Company from 2020 to

the present.




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